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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                                   THIRD DIVISION

Darine Long,                                           Case No. 0:08-cv-05214-RHK-FLN

       Plaintiff,

v.
                                                            NOTICE OF DISMISSAL
Legal Mediation Practice, Inc,                              WITHOUT PREJUDICE

       Defendant.


       Now comes Plaintiff, by and through counsel, and hereby dismisses the present action

pursuant to Fed. R. 41(a), without prejudice. This notice is being filed before Defendant has

served an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                                      RESPECTFULLY SUBMITTED,

                                                      Macey & Aleman, P.C.

                                                      By: /s/ James Agosto
                                                      James Agosto
                                                      7300 Hudson Blvd., Suite 255
                                                      Oakdale, MN 55128
                                                      Tel: 866-339-1156
                                                      Fax: 312.822.1064
                                                      Email: jxa@legalhelpers.com
                                                      Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 26, 2009, a copy of the foregoing Notice was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. The following party was served

through U.S. Mail:

Legal Mediation Practice, Inc
c/o Duane C Romanello, Registered Agent
1919-8 Blanding Blvd
Jacksonville, FL 32210

                                                           /s/ James Agosto




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